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                                  UNITED STATES COURT OF APPEALS

                                         FOR THE NINTH CIRCUIT


              UNITED STATES OF AMERICA,                        U.S.C.A. No. 23-1303
                                                               U.S.D.C. No. 3:19-CR-00011-SLG
                                  Plaintiff-Appellee,

                     v.                                        APPELLANT’S UNOPPOSED
                                                               MOTION TO STAY APPEAL
              JESSICA SPAYD,

                                  Defendant-Appellant.


                                                 I. Introduction

                    Appellant Jessica Spayd respectfully moves this Court to stay her appeal so

             that she may file and litigate a motion for a new trial in the District Court for the

             District of Alaska. Ms. Spayd’s trial was fundamentally unfair due to judicial

             misconduct by former district judge Joshua Kindred, who resigned in July 2024 after

             the Judicial Council’s public reprimand. See Exh. D-1, Order and Certification, In re

             Complaint of Judicial Misconduct, No. 22-90121. Specifically, justice requires a new

             trial for Ms. Spayd because: 1) Kindred created an unconstitutional appearance of

             bias by maintaining secret, sexual relationships with two Assistant United States

             Attorneys during the pendency of the case; and 2) Kindred could not exercise proper
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             judicial judgment while he was preoccupied by furthering his romantic relationships

             and suppressing a looming scandal. See Fed. R. Crim. P. 33(a) (“Upon the

             defendant’s motion, the court may vacate any judgment and grant a new trial if the

             interest of justice so requires.”).

                    The unique circumstances of this case justify a stay pending resolution of Ms.

             Spayd’s Rule 33 motion. Both trial and appellate counsel have been zealous and

             diligent in her defense, and Ms. Spayd looks forward to the efficient resolution of

             her case. However, the recent revelation of Kindred’s misconduct and the

             government’s dilatory disclosures make it imprudent to proceed with the appeal

             until the lower court considers whether to grant a new trial. While the government

             does not oppose this motion, Ms. Spayd understands that this Court—already

             considering the case for oral argument in February—will not lightly grant a stay. Ms.

             Spayd thus provides below a detailed statement of facts and legal argument to

             explain why a stay is necessary under the extraordinary circumstances of this case.

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                                             II. Statement of Facts 1

                    Ms. Spayd was a nurse practitioner operating a pain clinic in Eagle River,

             Alaska. An October 2019 indictment alleged that she unlawfully prescribed

             controlled substances “outside the usual course of professional practice and without

             a legitimate medical purpose.” CR2 10. The indictment also alleged that the

             dispensing of these drugs resulted in the death of some of her patients and that she

             maintained her clinic for the primary purpose of unlawfully prescribing pain

             medication. Id. The case was initially assigned to District Judge Ralph R. Beistline,

             but the case was re-assigned to former District Judge Joshua Kindred on March 3,

             2022. CR 150.

                    Around the time he began work on Ms. Spayd’s case, Kindred developed an

             “unusually close relationship” with his law clerk. Exh. D-1 at 7. He confided in her

             about being overwhelmed with his job as a federal judge and often “leaned on [the

             law clerk] for counsel and support.” Id. at 12. He texted her in July 2022 while away

             on a conference that he missed her and would be an “emotion[al] wreck” when she



             1
               Ms. Spayd’s opening brief presents a more complete recounting of the trial
             evidence. See AOB at 4–15. This motion focuses on the facts and procedure material
             to a motion for a new trial.
             2
               “CR” refers to the district court docket, included with Appellant’s Excerpts of
             Record at 16-ER-3131.
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             left the clerkship. Id. at 7. Over the 11 months of her clerkship, Kindred and the

             clerk exchanged 278 pages of text messages, “only a small fraction of which had any

             relationship to her legitimate job duties.” Id. The clerkship concluded, and the clerk

             joined the U.S. Attorney’s Office in Anchorage as a trial attorney on September 26,

             2022. Exh. D-2, Declaration of Counsel, ¶14.

                    Prior to Ms. Spayd’s trial, Kindred also received nude photographs from a

             more senior AUSA. Kindred told one of his law clerks about the photos. Exh. D-1 at

             7. The senior AUSA did not enter her appearance in Ms. Spayd’s case, but the

             government has disclosed that she may have attended a trial preparation meeting on

             September 22, 2022. See Exh. D-2 at ¶13.

                      Ms. Spayd’s trial began on September 26, 2022, with voir dire and jury

             selection. CR 246, 403. After a one-week break, the government and the defense

             gave opening statements on Monday, October 3. CR 256, 268. On the evening of

             October 3, Kindred asked the former clerk (now an AUSA at the office prosecuting

             Ms. Spayd) if she wanted to get together for drinks. Exh. D-1 at 8. The two met up,

             got drunk, and Kindred offered to drive her home. Id. They stopped at Kindred’s

             chambers, where they kissed. Id. The former clerk and Kindred gave contrary

             accounts about who initiated the kiss, but have both confirmed it happened. Id.



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                    Four days later, on Friday, October 7, Kindred and the former clerk met

             again. 3 Id. Kindred flirted with her at a party, but she eventually left. Id. She later

             texted him to state they should speak in person. Id. Kindred drove to her house, and

             they talked in his truck outside of her house. Id. Because it was too cold, Kindred

             drove them to his apartment. Id. When they arrived at his apartment, Kindred went

             into a bedroom and called for her to join him. Id. at 9. The former clerk told the

             Ninth Circuit that Kindred lured her to lie next to him, took her pants off, and

             performed oral sex on her. Id. She said she resisted, but eventually gave into

             Kindred’s advances because there was “nothing [she] could do about this.” Id.

             Kindred has admitted the sexual encounter occurred but denies it was non-

             consensual. Id. at 13–14.

                    While Kindred and the clerk-turned-AUSA engaged in their affair, Ms.

             Spayd’s trial plodded along. Neither the AUSA nor Kindred disclosed their

             relationship or sexual encounter to Ms. Spayd during the four weeks of trial. The

             trial concluded on October 28, 2022, with a guilty verdict. CR 314.

                    According to a July 2024 email to the Federal Public Defender, management

             at the U.S. Attorney’s Office learned about Kindred’s improper relationships with


             3
              Kindred did not conduct trial on Fridays, so nothing occurred that day in Ms.
             Spayd’s trial.
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             the two AUSAs in “late October and early November” 2022. See Exh. D-2 at ¶10.

             Management thus may have known that these relationships existed before the jury

             rendered its verdict. U.S. Attorney’s Office management indisputably knew of the

             conflicts shortly after the verdict. The government disclosed the improper

             relationships to Chief District Judge Sharon Gleason in November, and Kindred

             began recusing himself from cases involving the two AUSAs on November 15. Id.

             The government did not at that time disclose the relationships to defense counsel.

                    Sometime after trial, but before sentencing, the government obtained text

             messages exchanged between Kindred and the former clerk while Ms. Spayd’s trial

             was ongoing. Id. at ¶17. These messages include comments about Ms. Spayd’s trial

             and indicate the AUSA’s presence in the courtroom during the trial. Id. at ¶14. The

             government did not disclose these messages to Ms. Spayd’s trial counsel while the

             case was pending in district court. In fact, the government claims it did not even

             disclose the messages to its own trial prosecutors until August 2024, nearly two years

             after Ms. Spayd had been convicted. Id.

                    Meanwhile, the former clerk requested a transfer away from Alaska in

             November 2022 after her secret relationship with Kindred was revealed. Jacqueline

             Thomsen & Ben Penn, Alaska Judge’s Clerk Alleges Retaliation by US Attorney Office,

             Bloomberg Law, July 31, 2024. She told First Assistant United States Attorney Kate
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             Vogel in “fall 2022” about the nude photographs from the senior AUSA, but was

             accused of “spreading gossip” by U.S. Attorney Lane Tucker. Id. Department of

             Justice’s Office of Professional Responsibility interviewed the former clerk in 2023

             about the photographs, indicating Tucker nonetheless reported the allegations. Id.

                    Based on available information and news reporting, it thus appears that

             before Ms. Spayd was sentenced in June 2023, U.S. Attorney Tucker and First

             Assistant Vogel knew about the two improper relationships, disclosed the conflicts

             to the Chief Judge of the District of Alaska, and disclosed the conflicts to DOJ’s

             internal ethics watchdog. But Tucker and Vogel did not disclose the conflicts to Ms.

             Spayd. They also declined to inform the two prosecutors who had tried Ms. Spayd’s

             case and would ask for a life sentence from Kindred.

                    According to Bloomberg News, Tucker sent an internal email defending the

             office’s “prompt response” upon learning about the former clerk and Kindred. Ben

             Penn, Alaska Judge’s Sex Scandal Brings Scrutiny to US Attorney Tucker, Bloomberg Law,

             Sept. 10, 2024 (“Tucker and her top deputy, Kathryn Vogel, quickly referred the

             allegations—including the claim about the other prosecutor’s nude photos—to the

             Ninth Circuit and OPR, according to internal administrative records viewed by

             Bloomberg Law.”). In a July email to the Federal Public Defender, the government

             confirmed it had communicated ex parte with Chief Judge Gleason in November
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             2022 and “requested administrative assignment/reassignment away from Judge

             Kindred of cases involving three AUSAs and one defense attorney[.]” See Exh. D-2 at

             ¶10. But Tucker and Vogel—and whoever else knew about the conflicts—kept quiet

             about Ms. Spayd’s case, in which a recusal never happened. Instead, Tucker and

             Vogel allowed the trial prosecutors to go to sentencing without any knowledge of

             Kindred’s conflict of interest or the text messages he exchanged with the AUSA

             during the trial. For his part, Kindred never revealed any conflict of interest to Ms.

             Spayd before he sentenced her to 30 years in prison.

                    Nothing changed in the government’s posture after Ms. Spayd appealed her

             conviction and sentence. While counsel spent months poring over transcripts and

             drafting an opening brief, the government held onto its secret. In the background of

             the appeal, months after Ms. Spayd filed her opening brief, Kindred abruptly

             resigned without explanation on July 5, 2024. District Court of Alaska Receives

             Resignation 7/5/2024, available at https://www.akd.uscourts.gov/news/district-

             court-alaska-receives-resignation-752024. Three days later, this Court made public its

             May 23, 2024, Order and Certification publicly reprimanding Kindred for judicial

             misconduct. Exh. D-1 at 1.

                    As discussed in the Order, the Ninth Circuit Judicial Council found that

             Kindred had created a hostile work environment, engaged in an “inappropriately
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             sexualized” relationship with a law clerk, and lied to the committees investigating his

             misconduct. Id. The Order does not draw any express or implicit tie between

             Kindred’s misconduct and Ms. Spayd’s trial.4 The Order merely states that “[t]he

             former law clerk did not appear on any case before Judge Kindred while she was

             employed as an Assistant United States Attorney.” Id.

                    The government maintained its silence about the text messages to Kindred

             even after the Order’s publication. In fact, the government twice disclosed cases with

             potential conflicts to the defense bar on July 12, 2024, and August 2, 2024, but did

             not include Ms. Spayd’s case among the 44 cases it listed. See Exh. D-2 at ¶¶9, 12.

             Not until the day after the government submitted its response brief in this appeal

             did the government at long last disclose to Ms. Spayd that an AUSA romantically

             involved with Kindred had sat in the courtroom during trial and texted the judge

             about the case. Id. at ¶¶5, 14.

                    The government finally produced the text messages in September 2024,

             almost two years after Ms. Spayd was convicted and 15 months after she filed her

             notice of appeal. Id. at ¶¶15, 16. The government has refused Ms. Spayd’s request to



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               Chief Judge Murguia denied a request by the Federal Public Defender for the
             District of Alaska to release the Ninth Circuit Judicial Council’s full report, citing
             confidentiality provisions under 28 U.S.C. § 360(a).
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             identify who at the U.S. Attorney’s Office knew about the messages and when. Id. at

             ¶20.

                                                 III. Argument

                    This Court has “broad discretion to stay proceedings as an incident to its

             power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). The

             Supreme Court has long recognized that courts may grant a stay where “public

             welfare or convenience will thereby be promoted.” Landis v. North American Co., 299

             U.S. 248, 256 (1936). Here, a stay is warranted because adjudication of a motion for

             new trial in the district court prior to deciding this appeal promotes judicial

             efficiency and avoids needless expenditure of resources by the parties and the Court.

                    First, a criminal defendant may file a Rule 33 motion for new trial based on

             newly discovered evidence while an appeal is pending. United States v. Cronic, 466

             U.S. 648, 667 n.42 (1984) ( “[t]he District Court ha[s] jurisdiction to entertain [a

             Rule 33] motion and either deny the motion on its merits, or certify its intention to

             grant the motion to the Court of Appeals, which could then entertain a motion to

             remand the case”); United States v. Frame, 454 F.2d 1136, 1138 (9th Cir. 1972)

             (“Rule 33 permits a district court to entertain and deny a motion for a new trial

             based upon newly discovered evidence without the necessity of a remand. Only after

             the district court has heard the motion and decided to grant it is it necessary to
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             request a remand from the appellate court.”). Here, Ms. Spayd is well within the 3-

             year deadline to file a motion under Rule 33(b)(1) based on newly discovered

             evidence, and she may argue excusable neglect for failing to meet the 14-day deadline

             under Rule 33(b)(2) to raise other grounds for a new trial. In short, no procedural

             obstacle bars her motion.

                    Second, Ms. Spayd has a meritorious motion. Ms. Spayd will not argue her

             motion in full here, but highlights that even the appearance of judicial bias may give

             rise to structural error when the “probability of actual bias rises to an

             unconstitutional level.” Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 886–87

             (2009); see Greenway v. Schriro, 653 F.3d at 790, 805 (9th Cir. 2011) (“[W]hen a

             defendant’s right to have his case tried by an impartial judge is compromised, there

             is structural error that requires automatic reversal.”). Here, the presiding judge

             maintained two secret sexual relationships with prosecutors at the U.S. Attorney’s

             Office during Ms. Spayd’s trial. One of those prosecutors was texting the judge

             about the case during the trial. Even without further factual development, Ms. Spayd

             has strong arguments for a new trial.5 As the Judicial Conference concluded, “Judge


             5
               In fact, one court has already granted a new trial based on Kindred’s appearance of
             bias. In United States v. Hernandez-Zamora, Dist. Ct. Case No. 3:21-cr-00062-MAH,
             the senior AUSA who sent nude photos to Kindred sat in his courtroom during a
             trial and spoke to the trial prosecutors. Defendant’s Motion for Appropriate Relief:
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             Kindred was engaging in a sexual relationship with an employee of the office that

             oversees federal prosecutions in the District of Alaska, which creates an appearance

             of impropriety and would naturally diminish public confidence in Judge Kindred’s

             impartiality.” D-1 at 23.

                    Third, a stay promotes efficiency. If the district court indicates it would grant

             a new trial, this appeal would be moot, and this Court could simply remand for the

             district court to retry the case. If the district court denies the motion, this Court can

             hear an appeal of that denial at the same time it considers the complex legal

             arguments already presented in Ms. Spayd’s opening brief. Further, this Court could

             more ably consider whether Kindred’s rulings deserve the same deference as run-of-

             the-mill evidentiary decisions in light of his misconduct and subsequent resignation.

                    Last, a stay in this case would not encourage future litigants to revisit district

             court litigation needlessly while their appeals are pending. The circumstances of this



             Dismissal of Indictment or Order of New Trial, Dist. Ct. Case No. 3:21-cr-00062-
             MAH, Doc. No. 276. The government claimed the AUSA’s involvement was
             “limited,” so Kindred had no duty of recusal. Government’s Response in
             Opposition to Motion for Dismissal of Indictment or New Trial, Dist. Ct. Case No.
             3:21-cr-00062-MAH, Doc. No. 307. The district court granted a new trial. Although
             the order granting the new trial is under seal, Hernandez-Zamora’s counsel reported
             to Bloomberg News that the order concluded “[t]he mere appearance of misconduct
             and unfairness created by the presence of the conflicted prosecutor was enough to
             merit reconsideration.” Suzanne Monyak, Ex-Alaska Judge’s Misconduct Triggers New
             Trial in Criminal Case, Bloomberg News, September 30, 2024.
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             case are unique. Ms. Spayd could not have brought her motion sooner. Kindred’s

             misconduct became public only after Ms. Spayd had filed her opening brief, and the

             government concealed further bases for the motion until after it had filed its

             response brief. Certainly, Ms. Spayd would have preferred to litigate these issues

             before she was sentenced. She has spent almost two years in prison while the

             government withheld information justifying a new trial. Her motion aims to

             vindicate her constitutional rights, not cause further delay.

                                                 IV. Conclusion

                    For the reasons explained above, Ms. Spayd requests that this Court stay her

             appeal pending the resolution of a motion for a new trial in the district court.

             Counsel agrees to file a status report 90 days after this Court grants a stay and every

             90 days thereafter or upon the district court’s ruling on any motion for new trial.

                                                        Respectfully submitted,

              Dated: October 9, 2024                    /s/ Michael Marks
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